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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS

DERON MCCOY, JR.,                   )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )       Case No. 16-3027-SAC-DJW
                                    )
ARAMARK CORRECTIONAL                )
SERVICES, et al,                    )
                                    )
                  Defendant.        )
____________________________________)

                        EXHIBIT 1 TO DECLARATION
                          OF RABBI BEN FRIEDMAN
                       (Disk to be submitted conventionally)
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